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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10   DC COMICS,                                Case No. CV 10-3633 ODW (RZx)
 11               Plaintiff,                    [PROPOSED] ORDER GRANTING
                                                DC COMICS’ MOTION FOR AN
 12         v.                                  EVIDENTIARY HEARING AND
 13   PACIFIC PICTURES                          SANCTIONS, INCLUDING
      CORPORATION, IP WORLDWIDE,                TERMINATING SANCTIONS,
 14   LLC, IPW, LLC, MARC TOBEROFF,             APPOINTMENT OF SPECIAL
      an individual, MARK WARREN                MASTER, AND OTHER RELIEF
 15   PEARY, as personal representative of
      the ESTATE OF JOSEPH SHUSTER,             Hon. Otis D. Wright II
 16   JEAN ADELE PEAVY, an individual,
      LAURA SIEGEL LARSON, an
 17   individual and as personal
      representative of the ESTATE OF
 18   JOANNE SIEGEL, and DOES 1-10,
      inclusive,
 19
                  Defendants.
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                                                          [PROPOSED] ORDER GRANTING DC’S
                                                               MOT. FOR EVIDENTIARY HR’G
                                                                 RE DISCOVERY SANCTIONS
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   1         Good cause appearing, IT IS HEREBY ORDERED that DC Comics’ Motion
   2   For An Evidentiary Hearing And Sanctions, Including Terminating Sanctions,
   3   Appointment of Special Master, And Other Relief is GRANTED as follows:
   4               The Court will hold an evidentiary hearing on the issues raised in DC’s
   5         Motion commencing on ______, 2012 at _______ in Courtroom 11. See
   6         Wyle v. R.J. Reynolds, 709 F.2d 585, 592 (9th Cir. 1983) (an evidentiary
   7         hearing “best determines the appropriate sanctions”).
   8               Default Judgment is entered in DC’s favor on its Fifth Claim for
   9         Relief. See Anheuser-Busch, Inc. v. National Beverage Distribs., 69 F.3d
  10         337 (9th Cir. 1995).
  11               A special master is appointed to investigate and enforce defendants’
  12         compliance with their discovery obligations. See FED. R. CIV. P. 53(a)(1)(C);
  13         see also U.S. v. Conn., 931 F. Supp. 974, 984 (D. Conn. 1996).
  14               Privilege is deemed waived over all responsive documents that
  15         defendants have withheld from production, including all documents listed on
  16         defendants’ privilege logs that have not yet been produced. See Teleglobe
  17         USA Inc. v. BCE Inc., 493 F.3d 345, 386 (3d Cir. 2007); Get-A-Grip, II, Inc.
  18         v. Hornell Brewing Co., 2000 WL 1201385, at * 3 (E.D. Pa. Aug. 8. 2000).
  19               Privilege is deemed waived over any responsive documents that
  20         defendants have not listed individually on a privilege log. See O’Connor v.
  21         Boeing N. Am., Inc., 185 F.R.D. 272, 280 (C.D. Cal. 1999).
  22               The following facts are deemed conclusively established at trial. See
  23         Fed. R. Civ. P. 37(b)(2)(A)(i).
  24         • In the fall of 2001, defendant Marc Toberoff falsely told Laura Siegel
  25            Larson, Joanne Larson, and Michael Siegel that he had access to a
  26            billionaire investor who was offering them $15 million and other money
  27            to purchase their putative Superman rights; and
  28         • Toberoff, with knowledge of the longstanding economic relationship
                                                -1-        [PROPOSED] ORDER GRANTING DC’S
                                                                MOT. FOR EVIDENTIARY HR’G
                                                                  RE DISCOVERY SANCTIONS
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   1           between Laura Siegel Larson and Joanne Siegel, and DC, intended to
   2           cause and did cause Laura Siegel Larson and Joanne Siegel to end that
   3           longstanding economic relationship with DC.
   4              The jury shall be instructed that defendant Marc Toberoff has
   5        suppressed unfavorable evidence and may be continuing to do so.
   6        Additionally, the jury will be instructed that it should regard Toberoff’s
   7        testimony with greater caution than that of other witnesses. See In re Toyota
   8        Motor Corp. Unintended Acceleration Mktg., Sales Practices, & Prods.
   9        Liability Litig., __ F.R.D. __, 2012 WL 2146319, at *19 (C.D. Cal. June 11,
  10        2012).
  11              Monetary sanctions are awarded to DC in an amount to be determined
  12        following DC’s submission of its application for fees and costs. See FED. R.
  13        CIV. P. 37(C); Leon v. IDX Sys. Corp., 464 F.3d 951, 961 (9th Cir. 2006).
  14
  15        IT IS SO ORDERED.
  16
  17   Dated: __________________             ____________________________________
                                                   Honorable Otis D. Wright, II
  18                                            Judge, United States District Court
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                                                            [PROPOSED] ORDER GRANTING DC’S
                                               -2-               MOT. FOR EVIDENTIARY HR’G
                                                                   RE DISCOVERY SANCTIONS
